







	





				    	


NUMBER 13-07-00603-CV


COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      


LINDA GALLEGOS, CELIA G. RAMON,

AND MELISSA SALAIZ,				   		        Appellants,


v.


DR. TONE JOHNSON, JR., ET AL.,	        	 	  	         Appellees.

                                                                                                                                      
					

On appeal from the 319th District Court of

 Nueces County, Texas.

                                                                                                                      


MEMORANDUM OPINION


Before Chief Justice Valdez and Justices Yañez and Benavides

 Memorandum Opinion by Chief Justice Valdez

	

	Appellants, Linda Gallegos, Celia G. Ramon, and Melissa Salaiz, appeal a summary
judgment granted in favor of appellees, Dr. Tone Johnson Jr.; Tone Johnson Jr., M.D. P.A.;
Complete Medical Care; Bay Area Care Center, Inc.; Medifast Weight Reduction Center;
Corpus Christi Regional Center for Addictions, Inc.; Corpus Christi Bay Management
Group, Inc.; Coastal Cities, Inc.; and E&amp;B Medical Association, P.A. (1)  By four issues, which
we categorize as two, appellants argue that the trial court erred by:  (1) granting summary
judgment even though material fact issues exist; and (2) holding that appellants failed to
exhaust their administrative remedies before filing suit.  We affirm, in part, and reverse and
remand, in part.

I. Background

	Gallegos, Ramon, and Salaiz began working with Dr. Johnson at Complete Medical
Care in August 2003, April 2003, and May 2002, respectively.  In complaints filed with the
Corpus Christi Human Relations Commission ("CCHRC") and the Equal Employment
Opportunity Commission ("EEOC") in January and February 2004, appellants each alleged
that they were constructively discharged in October 2003.  

	Appellants filed their original petition against appellees on December 12, 2003, and
their first amended petition on June 21, 2004.  In their first amended petition, appellants
asserted claims against appellees for:  (1) wrongful discharge and retaliation under chapter
21 of the labor code, see Tex. Lab. Code Ann. §§ 21.051-.106 (Vernon 2006); (2) hostile
work environment and sexual harassment, (2) see id. § 21.051; (3) intentional infliction of
emotional distress; (4) assault against Dr. Johnson individually and against the remaining
appellees under agency theory; and (5) negligent supervision.  Appellees answered with
a general denial and asserted various affirmative defenses, including:  (1) an assertion that
several defendants were "non-employing" entities and that several entities that were sued
are no longer in existence (3); (2) appellants failed to exhaust their administrative remedies
under chapter 21 of the labor code, see id. §§ 21.201-.211 (Vernon 2006); and (3)
appellants' claims are time-barred.

	On May 12, 2006, appellees filed a hybrid motion for summary judgment, advancing
both traditional and no-evidence grounds.  Appellants filed a response to appellees'
summary judgment motions, supplied the trial court with affidavits and deposition tesitmony
of Gallegos, Ramon, and Salaiz, and filed a motion for continuance requesting more time
to complete discovery. (4)  Appellees objected to appellants' response and moved the trial
court to strike appellants' summary judgment evidence because appellants allegedly failed
to direct the trial court to specific portions of the attached deposition testimony that may
have created a fact issue and precluded summary judgment.

	On June 5, 2006, the trial court conducted a hearing on appellees' motions for
summary judgment and appellants' motion for continuance.  Appellants' counsel was
unable to personally attend the hearing, so the trial court arranged for him to make
arguments telephonically.  At that time, appellants re-urged their motion for continuance,
which the trial court subsequently denied.  After hearing arguments, the trial court took the
matter under advisement.

	On June 15, 2007, the trial court, after considering appellees' motions, appellants'
response, and evidence submitted by both parties, granted appellees' motions for
summary judgment without specifying a rationale and ordered that appellants take
nothing. (5)  See Lehmann v. Har-Con Corp., 39 S.W.3d 191, 206 (Tex. 2001) (holding that
a summary judgment order is final and appealable if it (1) actually disposes of all claims
and parties, or (2) clearly indicates the trial court's intent to render a final judgment).  This
appeal ensued.

II. Standard of Review


	The standard of review for the grant of a motion for summary judgment is
determined by whether the motion was brought on no-evidence or traditional grounds.  See
Tex. R. Civ. P. 166a(c), (i); see also Ortega v. City Nat'l Bank, 97 S.W.3d 765, 771 (Tex.
App.-Corpus Christi 2003, no pet.).  A no-evidence summary judgment is equivalent to a
pre-trial directed verdict, and we apply the same legal sufficiency standard on review. 
Mack Trucks, Inc. v. Tamez, 206 S.W.3d 572, 582 (Tex. 2006); Ortega, 97 S.W.3d at 772. 
In an appeal of a no-evidence summary judgment, we review the evidence in the light most
favorable to the non-movant, disregarding all contrary evidence and inferences.  City of
Keller v. Wilson, 168 S.W.3d 802, 825 (Tex. 2005) (noting that the review of a no-evidence
motion for summary judgment is effectively restricted to the evidence contrary to the
motion); see Ortega, 97 S.W.3d at 772.  If the non-movant produces evidence to raise a
genuine issue of material fact, summary judgment is improper.  Tex. R. Civ. P. 166a(i).

	In responding to the movant's no-evidence motion for summary judgment, all that
is required of the non-movant is to produce a scintilla of probative evidence to raise a
genuine issue of material fact.  See Ortega, 97 S.W.3d at 772.  "Less than a scintilla of
evidence exists when the evidence is 'so weak as to do no more than create a mere
surmise or suspicion of a fact.'"  Id. (quoting Kindred v. Con/Chem, Inc., 650 S.W.2d 61,
63 (Tex. 1983)).  Conversely, more than a scintilla exists when the evidence "rises to a
level that would enable reasonable and fair-minded people to differ in their conclusions." 
Id. (citing Transp. Ins. Co. v. Moriel, 879 S.W.2d 10, 25 (Tex. 1994)).  The burden of
producing evidence is entirely on the non-movant; the movant has no burden to attach any
evidence to the motion.  Tex. R. Civ. P. 166a(i).  Furthermore, we may not consider any
evidence presented by the movant unless it creates a fact question.  Binur v. Jacobo, 135
S.W.3d 646, 651 (Tex. 2004); Newkumet v. Allen, 230 S.W.3d 518, 521 (Tex.
App.-Eastland 2007, no pet.).

	On the other hand, we review the trial court's granting of a traditional motion for
summary judgment de novo.  See Provident Life &amp; Accident Ins. Co. v. Knott, 128 S.W.3d
211, 215 (Tex. 2003); Branton v. Wood, 100 S.W.3d 645, 646 (Tex. App.-Corpus Christi
2003, no pet.).  When reviewing a traditional summary judgment, we must determine
whether the movant met its burden to establish that no genuine issue of material fact exists
and that the movant is entitled to judgment as a matter of law.  Tex. R. Civ. P. 166a(c); see
Sw. Elec. Power Co. v. Grant, 73 S.W.3d 211, 215 (Tex. 2002); City of Houston v. Clear
Creek Basin Auth., 589 S.W.2d 671, 678 (Tex. 1979).  The movant bears the burden of
proof in a traditional motion for summary judgment, and all doubts about the existence of
a genuine issue of material fact are resolved against the movant.  See Sw. Elec. Power
Co., 73 S.W.3d at 215.  We take as true all evidence favorable to the non-movant, and we
indulge every reasonable inference and resolve any doubts in the non-movant's favor.  See
Valence Operating Co. v. Dorsett, 164 S.W.3d 656, 661 (Tex. 2005).

	We will affirm a traditional summary judgment only if the record establishes that the
movant has conclusively proved its defense as a matter of law or if the movant has
negated at least one essential element of the plaintiff's cause of action.  IHS Cedars
Treatment Ctr. of Desoto, Tex., Inc. v. Mason, 143 S.W.3d 794, 798 (Tex. 2004); see Am.
Tobacco Co. v. Grinnell, 951 S.W.2d 420, 425 (Tex. 1997); Clear Creek Basin Auth., 589
S.W.2d at 678.  A matter is conclusively established if reasonable people could not differ
as to the conclusion to be drawn from the evidence.  City of Keller, 168 S.W.3d at 816. 
Only when the movant has produced sufficient evidence to establish its right to summary
judgment does the burden shift to the non-movant to come forward with competent
controverting evidence raising a genuine issue of material fact with regard to the element
challenged by the defendant.  Rhone-Poulenc, Inc. v. Steel, 997 S.W.2d 217, 223 (Tex.
1999); see Centeq Realty, Inc. v. Siegler, 899 S.W.2d 195, 197 (Tex. 1995).  A defendant
seeking summary judgment on an affirmative defense must conclusively prove all the
elements of the affirmative defense.  Steel, 997 S.W.2d at 223; see Tex. R. Civ. P. 166a(b),
(c).  Thus, the defendant-movant must present summary judgment evidence that
establishes each element of the affirmative defense as a matter of law.  Ryland Group, Inc.
v. Hood, 924 S.W.2d 120, 121 (Tex. 1996).

	Furthermore, when the trial court's judgment does not specify which of several
grounds proposed was dispositive, we affirm on any ground offered that has merit and was
preserved for review.  See Joe v. Two Thirty Nine J.V., 145 S.W.3d 150, 157 (Tex. 2004). 

III. Analysis


A. 	Appellants' Intentional Infliction of Emotional Distress Claims and Challenges
to the Trial Court's Summary Judgment


	At the outset of our analysis, we note that appellants admit in their appellate brief
that they "do not seek review of the summary judgment in favor of Defendants/Appellees
Tone Johnson, M.D., P.A., Bay Area Care Center, Inc., Medifast Weight Reduction Center,
Corpus Christi Regional Center for Addictions, Inc., Corpus Christi Bay Management
Group, Inc., and Coastal Cities, Inc."  Therefore, we affirm summary judgment as to those
defendants. (6)  See Adams v. First Nat'l Bank of Bells/Savoy, 154 S.W.3d 859, 875 (Tex.
App.-Dallas 2005, no pet.) ("It is also possible to challenge a summary judgment by
separate points of error, but a reviewing court will affirm the summary judgment as to a
particular claim if an appellant does not present argument challenging all grounds on which
the summary judgment could have been granted.") (citing Malooly Bros., Inc. v. Napier, 461
S.W.2d 119, 121 (Tex. 1970); Smith v. Tilton, 3 S.W.3d 77, 83 (Tex. App.-Dallas 1999, no
pet.)).  

	We further note that neither Dr. Johnson nor Complete Medical Care moved for
summary judgment as to appellants' claims for intentional infliction of emotional distress. 
Therefore, without addressing the merits of appellants' intentional infliction of emotional
distress claims, we conclude that the trial court erred in granting summary judgment in
favor of appellees as to those claims.  See Wright v. Sydow, 173 S.W.3d 534, 554 (Tex.
App.-Houston [14th Dist.] 2004, pet. denied) (stating that "[a] trial court can enter a
summary judgment only against those claims attacked in a motion for summary judgment")
(citing McConnell v. Southside Indep. Sch. Dist., 858 S.W.2d 337, 342 (Tex. 1993)).  

	We now turn to appellants' challenge of the summary judgment granted in favor of
Dr. Johnson and Complete Medical Care.

B. 	Appellants' Claims Against Dr. Johnson

	By their first issue, appellants contend that the trial court erred in granting summary
judgment in favor of Dr. Johnson because their summary judgment evidence, including
affidavits and deposition testimony attached to their response, raised a genuine issue of
material fact, thereby precluding summary judgment.  Specifically, appellants argue that
the attached affidavits and deposition testimony raised a material fact issue as to their
claims of assault against Dr. Johnson. (7)  Appellees counter that appellants' summary
judgment evidence is insufficient to raise a material fact issue because appellants failed
to specifically designate and reference portions of their deposition testimony they relied
upon in their response to appellees' summary judgment motions.  Appellees also argue
that appellants' summary judgment evidence failed to establish that Dr. Johnson "made
physical contact with the Plaintiffs' person" or, in other words, assaulted appellants. 

	1.	Applicable Law

	"To establish a prima facie claim for civil assault, the plaintiff must establish the
same elements required for criminal assault."  Johnson v. Davis, 178 S.W.3d 230, 240
(Tex. App.-Houston [14th Dist.] 2005, pet. denied) (citing Moore's Inc. v. Garcia, 604
S.W.2d 261, 264 (Tex. Civ. App.-Corpus Christi 1980, writ ref'd n.r.e.)).  Section
22.01(a)(2)-(3) of the penal code provides that a person commits an assault if he
intentionally or knowingly causes physical contact with another when the person knows or
should reasonably believe that the other will regard the contact as offensive or provocative
or intentionally or knowingly threatens another with imminent bodily injury.  Tex. Penal
Code Ann. § 22.01(a)(2)-(3) (Vernon Supp. 2009); see Johnson, 178 S.W.3d at 240.

	2.	Discussion

	In the present case, appellees moved for a no-evidence summary judgment on
appellants' assault claims as to Dr. Johnson; therefore, appellants had the burden to
provide competent summary judgment evidence raising a material fact issue.  See Tex. R.
Civ. P. 166a(i); see also Ortega, 97 S.W.3d at 772.  A review of the summary judgment
evidence in the record reveals that Gallegos, Ramon, and Salaiz each offered deposition
testimony that Dr. Johnson made offensive contact with them.  Gallegos testified that Dr.
Johnson:  (1) tried to grab her on numerous occasions; (2) tried to kiss her and stick his
tongue in her ear; (3) grabbed her in the breast area; (4) repeatedly forced her to lean
against him; (5) hugged her waist; and (6) played with her hair, all while expressing that he
wanted to have sex with her.  Ramon stated that Dr. Johnson attempted to grab her every
time she walked by him, which occurred many times a day, and made numerous obscene
gestures to her with his mouth.  Salaiz testified that Dr. Johnson:  (1) put his arm around
her while he was opening the door to a patient's room; (2) pushed her against the wall and
asked, "What do you think I'm going to do to you . . . ."; and (3) grabbed her hand and
moved his finger in a circular motion, which she interpreted to mean that he wanted to have
sex with her.  Gallegos, Ramon, and Salaiz each noted that the contact or attempted
contact made by Dr. Johnson was offensive and unwanted.  Viewing this evidence in the
light most favorable to the non-movant, we cannot say that Dr. Johnson was entitled to a
no-evidence summary judgment.

	However, in the trial court and on appeal, appellees argued that appellants'
summary judgment evidence was insufficient because appellants failed to direct the trial
court to portions of their summary judgment evidence that demonstrated that Dr. Johnson
assaulted appellants.  Relying heavily on the supreme court's decision in Rogers v. Ricane
Enterprises, Inc., 772 S.W.2d 76, 81 (Tex. 1989), and the Houston First Court of Appeals'
decision in Guthrie v. Suiter, 934 S.W.2d 820, 826-27 (Tex. App.-Houston [1st Dist.] 1996,
no writ), appellees assert that appellants' failure to offer the trial court specific citations to
appellants' deposition testimony in their response to appellees' summary judgment motion
rendered appellants' deposition testimony insufficient to raise a material fact issue. (8)  We
disagree and find the cases cited by appellee to be distinguishable.

	In Rogers, the supreme court refused to consider deposition testimony that was
used to support a motion for summary judgment but was not made part of the record on
appeal and the record did not reflect that it was or could have been considered by the trial
court.  772 S.W.2d at 81.  The Rogers court stated that appellant's summary judgment
motion "does no more than refer to whatever may have been 'on file.'  Such a general
reference to a voluminous record which does not direct the trial court and parties to the
evidence on which the movant relies is insufficient."  Id.  As a result, the Rogers court
concluded that appellant's summary judgment motion could not be sustained on the basis
of the referenced deposition.  Id.  Here, appellants are not asserting entitlement to
summary judgment; instead, appellants had a summary judgment rendered against them. 
Texas courts have held for nearly fifty years that the purpose of summary judgment is to
eliminate "patently unmeritorious claims or untenable defenses," not to "deprive litigants
of their rights to a full hearing on the merits of any real issue of fact."  Gulbenkian v. Penn,
151 Tex. 412, 252 S.W.2d 929, 931 (1952); see Clear Creek Basin Auth., 589 S.W.2d at
678 n.5; Taub v. Aquila Sw. Pipeline Corp., 93 S.W.3d 451, 462 (Tex. App.-Houston [14th
Dist.] 2002, no pet.); see also Martinez v. Wilson Plaza Assocs., L.P., No. 13-02-697-CV,
2004 Tex. App. LEXIS 9804, at *9 (Tex. App.-Corpus Christi Nov. 4, 2004, no pet.) (op.
on reh'g).  Therefore, it makes sense that the supreme court would hold that a summary
judgment movant's failure to specifically reference portions of their summary judgment
evidence precludes summary judgment, because in holding otherwise, the non-movant
would not have received adequate notice of the movant's reliance on the deposition not
contained in the record, and thus, the non-movant would be deprived of their right to a full
hearing on the merits.

	In Guthrie, the Houston First Court of Appeals considered a situation where the
proponent of the evidence attached a 500-page deposition to his response to a motion for
summary judgment.  See Guthrie, 934 S.W.2d at 825.  In his response, the proponent
failed to make any reference to the deposition, and the trial court refused to consider the
deposition as summary judgment evidence.  See id. at 826.  The court of appeals affirmed
the trial court's decision, reasoning that "the trial court should not be compelled to sift
through a 500-page deposition to search for evidence supporting the contestants'
contentions."  Id.  In arriving at its holding, the court of appeals relied on the Texas
Supreme Court's holding in Rogers that general references to a voluminous record do not
direct trial courts and parties to evidence on which the movant relies.  See 772 S.W.2d at
81. 

	In the case at bar, appellants did not attach a "voluminous" record to their response
to appellees' summary judgment motions.  Appellants' summary judgment evidence was
comprised of approximately 185 pages of deposition testimony, which was condensed to
thirty-three pages (double-sided) of actual testimony.  The testimony itself was rife with
accusations of sexual misconduct, harassment, and other indiscretions allegedly
committed by Dr. Johnson.  A mere cursory review of the deposition testimony would have
informed the trial court and appellees of the various allegations of misconduct involving Dr.
Johnson; thus, the relevance of the depositions was readily ascertainable.  Moreover,
appellants' response clearly referenced the deposition testimony, noted that the testimony
established questions of fact as to appellants' underlying assault and intentional infliction
of emotional distress claims against all defendants, and included affidavits from appellants
clearly stating Dr. Johnson's alleged transgressions and how those transgressions caused
appellants' injuries.  Therefore, because the record was not voluminous in this case, and
because appellants clearly referenced their summary judgment evidence and noted that
the summary judgment evidence raised issues of material fact regarding the underlying
assault and intentional infliction of emotional distress claims, we do not believe this
situation to be akin to the situations in Rogers and Guthrie.   

	Appellants cite to the El Paso Court of Appeals' holding in Barraza v. Eureka
Company and the Austin Court of Appeals' holding in Hinojosa v. Columbia/St. David's
Healthcare System, L.P. to support their contention that the trial court erred in refusing to
consider their deposition testimony and concluding that a material fact issue existed as to
their assault claims against Dr. Johnson.  See Barraza v. Eureka Co., 25 S.W.3d 225, 228-29 (Tex. App.-El Paso 2000, pet. denied); see also Hinojosa v. Columbia/St. David's
Healthcare Sys., L.P., 106 S.W.3d 380, 387-88 (Tex. App.-Austin 2003, no pet.).  

	In Barraza, the court of appeals addressed a similar issue as in the instant case
involving a hybrid motion for summary judgment and a non-movant's response and noted
the following:

	Eureka contends that "in order to meet requirements of Rule 166a(d), Texas
Courts have consistently held that the party is required to identify the specific
evidence in the deposition on which it relies. . . ."  Under Eureka's
interpretation of the rule, the trial court can disregard all evidence the
proponent does not specifically bring to the attention of the court.  We do not
believe this is the meaning of the rule.

	

		Rule 166a(d) provides three methods to present unfiled discovery
before the trial court.  First, a party may file the discovery with the trial court. 
Second, a party may file an appendix containing the evidence.  Finally, a
party may simply file a notice with specific references to the unfiled
discovery.  Nowhere does the rule require that the proponent of the evidence
provide specific references to the discovery, if the actual documents are
before the trial court, in order for the trial court to consider it.  The Texas
Supreme Court has held that the "notice of intent" requirement is fulfilled
when the proponent attaches copies of the discovery to its motion and the
motion clearly relies on the attached discovery as support. . . .


25 S.W.3d at 228-29 (emphasis added).  

	In Hinojosa, the court of appeals addressed a traditional motion for partial summary
judgment granted in favor of a hospital, physician, and the physician's practice group in a
situation involving the death of a baby during the labor and delivery process.  106 S.W.3d
at 382.  Appellants claimed that a material fact issue existed as to their underlying wrongful
death and survival statute claims because, among the evidence produced at the summary
judgment proceedings, was a death certificate that demonstrated that the baby was born
alive and survived for twenty minutes.  Id. at 384, 386-87.  Appellees argued that the death
certificate, though attached to appellants' response to appellees' summary judgment
motion, was insufficient to raise a fact issue because the response did "not specifically rely
on the death certificate's statutory significance."  Id. at 387.  In sustaining appellants' issue
and reversing the trial court's summary judgment, the court of appeals noted the following:

	Appellees' position confuses the requirement that all issues be raised in a
motion before the trial court with an assessment of all the evidence produced
in the summary-judgment proceedings.  An issue is a proposition specifically
addressed to the cause of action or claim that, if found to be true, directly
requires that summary judgment be either granted or denied.  Issues must
be set out specifically in a motion, answer, or other response.  Evidence, on
the other hand, comprises the documents and other materials included in the
record that tend to make the proposition at issue more or less probable.  A
non-movant need not set out the exact evidence on which it relies or explain
with specificity how this evidence supports the issues it raises; summary
judgment is not a trial by affidavit or deposition.  Evidence need only be
referenced or attached in order for a court to consider it.


Id. at 387-88 (emphasis added and citations omitted).   

	In this case, we agree with the proposition that rule 166a(d) only required appellants
to reference evidence attached to their response to the summary judgment, especially
considering appellants' summary judgment evidence is not voluminous.  See Barraza, 25
S.W.3d at 228-29; see also Hinojosa, 106 S.W.3d at 387-88.  As previously noted,
appellants' response clearly referenced the deposition testimony of Gallegos, Ramon, and
Salaiz as evidence raising a fact issue and precluding summary judgment as to whether
Dr. Johnson assaulted appellants, and the trial court indicated in its summary judgment
order that it considered appellants' response. Furthermore, in reviewing appellants'
deposition testimony, we find numerous factual allegations of assault against Dr. Johnson
that would defeat appellees' summary judgment motion; it is clear to us that the trial court
granted appellees' summary judgment motion as to appellants' assault claims merely
because appellants did not include specific references to the summary judgment evidence
that were to the trial court's liking.  We do not believe that appellants should be deprived
of their right to a full hearing on the merits of their case based on a technicality given that
the underlying summary judgment record is not voluminous.  We conclude that appellants'
deposition testimony was properly before the trial court and effectively raised a material
fact issue precluding summary judgment as to appellants' assault claims against Dr.
Johnson.  See Tex. R. Civ. P. 166a(i); see also Ortega, 97 S.W.3d at 772.  Therefore, we
further conclude that the trial court erred in granting summary judgment in favor of
appellees as to appellants' assault claims against Dr. Johnson.  See Tex. R. Civ. P. 166a(i);
see also Ortega, 97 S.W.3d at 772.  Accordingly, we sustain appellants' first issue as it
pertains to appellants' claims of assault against Dr. Johnson.  

C. 	Appellants' Claims against Complete Medical Care 

	Also in their first issue, appellants argue that the deposition testimony of Gallegos,
Ramon, and Salaiz raise a fact issue as to their claims against Complete Medical Care for
retaliation, aiding or abetting discrimination, sex discrimination, assault under the doctrine
of respondeat superior, and negligent supervision. (9)  Appellees assert that appellants'
summary judgment evidence did not raise a material fact issue precluding summary
judgment.    

	1. 	Complete Medical Care's Liability for Assault


	In their first amended petition, appellants asserted an assault claim against
Complete Medical Care under an agency theory.  Appellees, in their no-evidence summary
judgment motion, argued that the record contains "no evidence that any of the Defendants
made physical contact with the Plaintiffs' person."  The supreme court has noted the
following regarding an employer's liability for assaults committed by its employees:

	Generally, a master is vicariously liable for the torts of its servants committed
in the course and scope of their employment.  See Houston Transit Co. v.
Felder, 146 Tex. 428, 208 S.W.2d 880, 881 (1948).  While we have stated
that "it is not ordinarily within the scope of a servant's authority to commit an
assault on a third person," see Tex. &amp; Pac. Ry. Co. v. Hagenloh, 151 Tex.
191, 247 S.W.2d 236, 239 (1952), exceptions may exist where the assault,
although not specifically authorized by the employer, is closely connected
with the servant's authorized duties, such as where a security guard uses
more force than is necessary in protecting the employer's property.  Id.


Medina v. Herrera, 927 S.W.2d 597, 601 (Tex. 1996).  "An employee's tortious conduct is
within the scope of employment when that conduct is of the same general nature as that
authorized or incidental to the conduct authorized."  Wrenn v. G.A.T.X. Logistics, Inc., 73
S.W.3d 489, 494 (Tex. App.-Fort Worth 2002, no pet.)  "If the act is done within the
general authority of the employee, an employer is liable for the acts of his employee, even
if the act is contrary to express orders."  Id.  

	It is well-settled that an employer generally cannot be held vicariously liable for the
intentional torts of assault or battery perpetrated by an employee because such acts are
not typically within the course and scope of an employee's authority or employment.  Id.;
see Andrews v. Houston Lighting &amp; Power, 820 S.W.2d 411, 413 (Tex. App.-Houston
[14th Dist.] 1991, writ denied) ("Therefore, an employer is not liable for actions that an
employee takes in his own interest and not to further the purpose of carrying out the
master's business."); see also Viking v. Circle K Convenience Stores, Inc., 742 S.W.2d
732, 734 (Tex. App.-Houston [1st Dist.] 1987, writ denied) ("It is not within the scope of a
servant's authority to commit an assault, which is generally an expression of personal
animosity.").  However, "[i]ntentional torts committed in the accomplishment of a duty
entrusted to the employee, rather than because of personal animosity, may render the
employer liable."  Wrenn, 73 S.W.3d at 494; see GTE Sw., Inc. v. Bruce, 998 S.W.2d 605,
618 (Tex. 1999) (holding an employer vicariously liable for regular and daily pattern of
verbal abuse, humiliation, and terror by supervisor as "management style").

	The record reflects that Dr. Johnson is the co-owner (10) of Complete Medical Care
and seems to suggest that he exercised some supervisory authority over appellants' work. 
Appellants offered deposition testimony that Dr. Johnson regularly harassed them,
inappropriately touched them, and expressed his desire to have sex with them during an
ordinary business day at the office.  Appellant allege that Dr. Johnson engaged in these
actions within the scope of his position as appellants' supervisor.  Furthermore, Gallegos,
Ramon, and Salaiz each testified that Dr. Johnson was present at their interviews and was
the individual who had hired them and directed their job duties. 

	The supreme court has held that businesses may be liable for damages for torts
committed by vice-principals.  Hammerly Oaks, Inc. v. Edwards, 958 S.W.2d 387, 391-92
(Tex. 1997); see Fort Worth Elevators Co. v. Russell, 123 Tex. 128, 70 S.W.2d 397, 406
(1934), disapproved in part on other grounds by Wright v. Gifford-Hill &amp; Co., 725 S.W.2d
712, 714 (Tex. 1987) (holding that when action taken by a vice-principal of a corporation,
those acts may be deemed to be the acts of the corporation itself).  A vice-principal
"represents the corporation in its corporate capacity, and includes persons who have
authority to employ, direct, and dischage servants of the master, and those to whom a
master has confided the management of the whole or a department or division of his
business."  Bruce, 998 S.W.2d at 618 (citing Mobil Oil Corp. v. Ellender, 968 S.W.2d 917,
922 (Tex. 1998)).  At the very least, appellants' summary judgment evidence raises a
material fact issue as to whether:  (1) Dr. Johnson's alleged conduct was committed in the
accomplishment of a duty entrusted to him or because of personal animosity; or (2) Dr.
Johnson, as co-owner of Complete Medical Care, was a vice-principal and, therefore,
liability for his actions was imputed to the business.  We therefore conclude that the trial
court erred in granting summary judgment as to appellants' claims against Complete
Medical Care for assault under agency theory.

	2.	Negligent Supervision


	In their first amended petition, appellants also raised a claim for negligent
supervision against Complete Medical Care.  In their no-evidence motion for summary
judgment, appellees alleged that the record contains no evidence that Complete Medical
Care failed to supervise its employees.  However, appellants did not even reference their
negligent supervision claim in their response to appellees' no-evidence motion for
summary judgment, much less assert that their summary judgment evidence raised a
material fact issue as to their negligent supervision claim.  As noted earlier, appellants
were required to specifically set out their issues in their response.  See Hinojosa, 106
S.W.3d at 387 (stating that an issue "is a proposition specifically addressed to a cause of
action or claim that, if found to be true, directly required that summary judgment be either
granted or denied" and that "[i]ssues must be set out specifically in a motion, answer, or
other response").  By their failing to do so, we cannot say that the trial court erred in
granting summary judgment as to appellants' negligent supervision claim.

	Based on the foregoing, we sustain appellants' first issue as it pertains to their
assault claim against Complete Medical Care; we overrule appellants' first issue as it
relates to appellants' negligent supervision claim against Complete Medical Care.

D.	Appellants' Claims Brought Under the Texas Commission on Human Rights
Act ("TCHRA")


	By their second issue, appellants contend that the trial court erred in granting
summary judgment as to their retaliation and sex discrimination claims that were brought
under the TCHRA.  In particular, appellants argue that the trial court erred in concluding
that they failed to exhaust their administrative remedies as to these claims.  Appellees
assert that appellants did not properly exhaust their administrative remedies before filing
suit on their TCHRA claims; therefore, the trial court did not err in granting summary
judgment. 

	1.	The TCHRA


	The TCHRA prohibits an employer from discharging or in any other way
discriminating against an employee because of the employee's race, color, disability,
religion, sex, national origin, or age.  Tex. Lab. Code Ann. § 21.051.  Specifically, section
21.051 of the labor code provides the following:

	An employer commits an unlawful employment practice if because of race,
color, disability, religion, sex, national origin, or age the employer:

	

		(1) fails or refuses to hire an individual, discharges an individual, or
discriminates in any other manner against an individual in connection with
compensation or the terms, conditions, or privileges of employment; or 


		(2) limits, segregates, or classifies an employee or applicant for
employment in a manner that would deprive or tend to deprive an individual
of any employment opportunity or adversely affect in any other manner the
status of an employee.


Id.  The TCHRA also prohibits employers from retaliating or discriminating against an
employee who:  "(1) opposes discriminatory practice; (2) makes or files a charge; (3) files
a complaint; or (4) testifies, assists, or participates in any manner in an investigation,
proceeding, or hearing."  Id. § 21.055.  Because one of the purposes of the TCHRA is to
correlate state law with federal law with respect to employment discrimination, we may look
to federal law in interpreting provisions of the TCHRA.  See id. § 21.001 (Vernon 2006);
see also M.D. Anderson Hosp. &amp; Tumor Inst. v. Willrich, 28 S.W.3d 22, 24 (Tex. 2000);
NME Hosps., Inc. v. Rennels, 994 S.W.2d 142, 144 (Tex. 1999).	

2.	Discussion


	Appellees contended in their traditional motion for summary judgment that
appellants failed to exhaust their administrative remedies with respect to their TCHRA
claims.  Specifically, appellees argued that the trial court lacked subject-matter jurisdiction
because appellants filed suit before filing a complaint or charge of discrimination with the
proper commission.  See Tex. Labor Code Ann. § 21.201.  In support of their motion,
appellees attached:  (1) appellants' first amended petition, which was filed on June 21,
2004; (2) Gallegos's charge of discrimination filed with the CCHRC and the EEOC on
January 24, 2004; (3) Ramon's charge of discrimination filed with the CCHRC and the
EEOC on January 24, 2004; and (4) Salaiz's charge of discrimination filed with the CCHRC
and the EEOC on February 11, 2004.  On appeal, appellees direct us to appellants' original
petition filed on December 12, 2003, to support their contention that appellants improperly
filed suit before filing their administrative complaint or exhausting their administrative
remedies.  Moreover, appellees argued in their summary judgment motion and on appeal
that appellants' failure to obtain a right-to-sue letter from the CCHRC and the EEOC
constitutes a failure to exhaust their administrative remedies.  

	Before filing suit against an employer in state court, an employee must exhaust his
or her administrative remedies by first filing a complaint with the Texas Commission on
Human Rights (the "Commission") within 180 days of the alleged discriminatory act.  See
Tex. Labor Code Ann. § 21.202(a); see also Schroeder v. Tex. Iron Works, Inc., 813
S.W.2d 483, 485 (Tex. 1991); Vela v. Waco Indep. Sch. Dist., 69 S.W.3d 695, 700 (Tex.
App.-Waco 2002, pet. withdrawn). (11)  In order to comply with the exhaustion requirement,
an employee must:  (1) file a complaint with the Commission within 180 days of the alleged
discriminatory act; (2) allow the Commission to dismiss the complaint or resolve the
complaint within 180 days before filing suit; and (3) file suit no later than two years after the
complaint is filed.  See Tex. Labor Code Ann. §§ 21.201-.202, 21.208, 21.256 (Vernon
2006).  

	The exhaustion requirement is satisfied when appellant is entitled to receive a right-to-sue letter.  See Rice v. Russell-Stanley, L.P., 131 S.W.3d 512, 510, 512 (Tex.
App.-Waco 2004, pet. denied) (stating that the "right-to-sue letter is merely notice of the
exhaustion of remedies and does not constitute part of actually exhausting administrative
remedies" and "mere possession of a right-to-sue letter is not mandatory before filing suit"
and holding that "it is the entitlement to the right-to-sue letter that exhausts the
complainant's administrative remedies"); City of Houston v. Fletcher, 63 S.W.3d 920, 923
(Tex. App.-Houston [14th Dist.] 2002, no pet.) (same); see also Bernard v. Browning-Ferris
Servs., Inc., No. 01-92-00134-CV, 1994 Tex. App. LEXIS 2541, at *8 (Tex. App.-Houston
[1st Dist.] Oct. 20, 1994, no writ) (op. on reh'g) (not designated for publication) (same)
(citing Perdue v. Roy Stone Transfer Corp., 690 F.2d 1091,1093 (4th Cir. 1982)).  "A
plaintiff is entitled to a right-to-sue letter by the mere passage of 180 days after filing a
timely, sworn, written complaint with the Commission."  Fletcher, 63 S.W.3d at 923 (citing
Tex. Labor Code Ann. § 21.208).   

	In the present case, appellants noted in their administrative complaints that they
took issue with the facts surrounding their constructive discharge occurring on or about
October 17, 2003.  Thus, appellants timely filed their complaints within 180 days of the
alleged discriminatory act.  See id. § 21.202(a); Rice, 131 S.W.3d at 513; Schroeder, 813
S.W.2d at 485-86; see also Donna Indep. Sch. Dist. v. Rodriguez, No. 13-09-00185-CV,
2009 Tex. App. LEXIS 7324, at **8-9 (Tex. App.-Corpus Christi Sept. 17, 2009, no pet.)
(mem. op.) ("When a charge is timely filed as to one act of discrimination, the 'continuing
violation' doctrine expands the scope of those discriminatory events that are actionable,
as long as one of the events occurs within the 180-day period.") (citing Wal-Mart Stores v.
Davis, 979 S.W.2d 30, 41 (Tex. App.-Austin 1998, pet. denied); Glass v. Petro-Tex Chem.
Corp., 757 F.2d 1554, 1560-61 (5th Cir. 1985)).  However, the crux of this issue is the
impact of appellants' December 12, 2003 original petition, which was filed more than a
month before appellants filed their administrative complaints.  

	Because the supreme court has held that a complainant under the TCHRA may not
file suit until they have exhausted their administrative remedies or, in other words, satisfied
the mandatory and jurisdictional statutory prerequisites, we conclude that appellants' action
of filing their lawsuit before filing their complaints with the appropriate commission deprived
the trial court of subject-matter jurisdiction over their TCHRA claims. (12)  See Hoffmann-La
Roche, Inc. v. Zeltwanger, 144 S.W.3d 438, 446 (Tex. 2004) ("The [T]CHRA further
establishes a comprehensive administrative review system, under which the exhaustion
of administrative remedies is a mandatory prerequisite to filing a civil action alleging
violations of the [T]CHRA.") (internal quotations omitted); Schroeder, 813 S.W.2d at 486
(holding that "failing to comply [with the statutory prerequisites of the TCHRA] deprives the
court of subject[-]matter jurisdiction"); see also Del Mar College Dist. v. Vela, 218 S.W.3d
856, 860 (Tex. App.-Corpus Christi 2007, no pet.); Vela, 69 S.W.3d at 700.  Further,
because the supreme court has held that "[t]he absence of subject-matter jurisdiction may
be raised by a plea to the jurisdiction, as well as by other procedural vehicles, such as a
motion for summary judgment," see Bland Indep. Sch. Dist. v. Blue, 34 S.W.3d 547, 553-54 (Tex. 2000), we conclude that the trial court did not err in granting appellees' traditional
motion for summary judgment as to appellants' TCHRA claims.  Accordingly, we overrule
appellants' second issue.  

IV. Conclusion	In sum, we affirm summary judgment as to appellants' claims against
"Defendants/Appellees Tone Johnson [Jr.] M.D., P.A.[;] Bay Area Care Center, Inc.[;]
Medifast Weight Reduction Center[;] Corpus Christi Regional Center for Addictions, Inc.[;]
Corpus Christi Bay Management Group, Inc.[;] and Coastal Cities, Inc."  We also affirm
summary judgment as to appellants' negligent supervision claims against Complete
Medical Care and appellants' TCHRA claims.  We reverse the trial court's judgment as to
appellants' claims for assault against Dr. Johnson and Complete Medical Care and
intentional infliction of emotional distress against Dr. Johnson and Complete Medical Care
and remand for proceedings consistent with this opinion.

							                                         								ROGELIO VALDEZ

							Chief Justice

	


Delivered and filed the

25th day of February, 2010. 

						
1.  E&amp;B Medical Association, P.A. does business as Complete Medical Care; therefore, we will refer
to the combined entity as Complete Medical Care.
2.  Sexual harassment is a form of sex discrimination prohibited by section 21.051 of the labor code. 
See Tex. Labor Code Ann. § 21.051 (Vernon 2006); Syndex Corp. v. Dean, 820 S.W.2d 869, 871 (Tex.
App.-Austin 1991, writ denied) (citing Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57, 65 (1986)); see also
Del Mar College Dist. v. Vela, 218 S.W.3d 856, 860 (Tex. App.-Corpus Christi 2007, no pet.).  Furthermore,
the law recognizes two forms of sexual harassment claims:  quid pro quo and hostile work environment.  Del
Mar College Dist., 218 S.W.3d at 860 (citing Garcia v. Schwab, 967 S.W.2d 883, 885 (Tex. App.-Corpus
Christi 1998, no pet.) (discussing hostile work environment as a form of sexual harassment); Ewald v. Wornick
Family Foods Corp., 878 S.W.2d 653, 659 (Tex. App.-Corpus Christi 1994, writ denied) (setting out the
elements of a hostile work environment claim)).
3.  In particular, appellees noted that appellants were not employed at any time by "Dr. Tone Johnson,
Tone Johnson, M.D.[,] P.A[.], Bay Area Care Center, Inc., Medifast Weight Reduction Center, Corpus Christi
Regional Center for Addictions, Inc., Corpus Christi Bay Management Group, Inc., and Coastal Cities, Inc." 
Appellees further noted that Tone Johnson M.D., P.A. is a non-existent entity and Medifast Weight Reduction
Center and Corpus Christi Bay Management are no longer in existence.  Moreover, appellants, in their
appellate brief, admit that they do not seek review of the summary judgment granted in favor of
"Defendants/Appellees Tone Johnson [Jr.], M.D., P.A.[;] Bay Area Care Center, Inc.[;] Medifast Weight
Reduction Center[;] Corpus Christi Regional Center for Addictions, Inc.[;] Corpus Christi Bay Management
Group, Inc.[;] and Coastal Cities, Inc." because these entities "were not employers of Plaintiffs/Appellants."
4.  Appellees argue on appeal that appellants' response was untimely because it was allegedly filed less
than seven days before the summary judgment hearing and appellants failed to file a motion for leave.  See
Tex. R. Civ. P. 166a(c) ("Except on leave of court, the adverse party, not later than seven days prior to the day
of hearing may file and serve opposing affidavits or other written response.").  The record reflects that
appellants filed their response in the trial court on May 31, 2006, yet the certificate of service indicates that
appellees received notice of the response on May 30, 2006.  The trial court's summary judgment order states
that:  "The Court, after considering Defendants' Motion and Plaintiffs' reply thereto, is of the opinion that
Defendants' Motion has merit and should in all things be GRANTED."  (Emphasis added.)  Therefore, it is
clear that the trial court considered appellants' response, and in doing so, the trial court ostensibly granted
appellants leave to file their response.  See Speck v. First Evangelical Lutheran Church of Houston, 235
S.W.3d 811, 815 (Tex. App.-Houston [1st Dist.] 2007, no pet.) ("Summary judgment evidence may be filed
late, but only with leave of court.  Where nothing appears in the record to indicate that the trial court granted
leave to file the summary judgment response late, we presume that the trial court did not consider the
response."); see also Benchmark Bank v. Crowder, 919 S.W.2d 657, 663 (Tex. 1996); INA of Tex. v. Bryant,
686 S.W.2d 614, 615 (Tex. 1985).  
5.  Specifically, the trial court noted in its order that "the Motion[s] for Summary of Defendants is
GRANTED . . . Plaintiff's causes of action against Defendants are hereby DISMISSED, and . . . Plaintiffs take
nothing from defendants . . . ."  Neither party argues that the trial court's judgment is not final; therefore, that
issue is not before us.  See Lehmann v. Har-Con Corp., 39 S.W.3d 191, 206 (Tex. 2001) ("But if the language
of the order is clear and unequivocal, it must be given effect despite any other indications that one or more
parties did not intend for the judgment to be final.  An express adjudication of all parties and claims is not
interlocutory merely because the record does not afford a legal basis for the adjudication.  In those
circumstances, the order must be appealed and reversed.").
6.  As a result, the remaining parties are Dr. Johnson, individually, and Complete Medical Care.
7.  Except for their assault and intentional infliction of emotional distress claims, appellants concede
all of their remaining claims against Dr. Johnson.
8.  Appellees cite to numerous other cases in support of their contention that summary judgment was
proper because appellants failed to specifically direct the trial court to portions of their summary judgment
evidence.  However, we do not find any of the cases cited by appellees to be persuasive in this matter
because each are either premised on a finding that the underlying summary judgment record is voluminous,
which we do not believe is the case here, are unpublished opinions without precedential value, or are
inapposite considering the specific circumstances in this case.  See, e.g., Aguilar v. Morales, 162 S.W.3d 825,
838 (Tex. App.-El Paso 2005, pet. denied); Shelton v. Sargent, 144 S.W.3d 113, 120 (Tex. App.-Fort Worth
2004, pet. denied); Blake v. Intco Invs. of Tex., Inc., 123 S.W.3d 521, 525 (Tex. App.-San Antonio 2003, no
pet.); Boeker v. Syptak, 916 S.W.2d 59, 61 (Tex. App.-Houston [1st Dist.] 1996, no writ); see also Duke v.
Caterpillar, Inc., No. 01-03-00840-CV, 2005 Tex. App. LEXIS 1906, at *3 n.1, **17-18 (Tex. App.-Houston
[1st Dist.] Mar. 10, 2005, no pet.) (mem. op.); Kashif Bros., Inc. v. Diamond Shamrock Ref. &amp; Mktg. Co., No.
14-01-00202-CV, 2002 Tex. App. LEXIS 6184, at **7-8 (Tex. App.-Houston [14th Dist.] Aug. 22, 2002, pet.
denied) (not designated for publication); Enercor, Inc. v. Pennzoil Gas Mktg. Co., Nos. 01-98-01026-CV, 01-98-01332-CV, 2001 Tex. App. LEXIS 4552, at **30-31 (Tex. App.-Houston [1st Dist.] July 5, 2001, pet.
denied) (not designated for publication).
9.  In reviewing the pleadings, we find that appellants did not plead a cause of action for aiding or
abetting discrimination, and appellants' claims for retaliation and sex discrimination were brought under the
Texas Commission on Human Rights Act ("TCHRA").  See Tex. Labor Code Ann. §§ 21.051, 21.055 (Vernon
2006).  With respect to the purported "aiding and abetting discrimination" claim, we note that Texas courts
have held that the purpose of pleadings is to give an adversary notice of claims and defenses, as well as
notice of the relief sought.  Herrington v. Sandcastle Condo. Ass'n, 222 S.W.3d 99, 102 (Tex. App.-Houston
[14th Dist.] 2006, no pet.) (citing Horizon/CMS Healthcare Corp. v. Auld, 34 S.W.3d 887, 896 (Tex. 2000);
Perez v. Briercroft Serv. Corp., 809 S.W.2d 216, 218 (Tex. 1991)).  In addition, a trial court cannot enter
judgment on a theory of recovery not sufficiently set forth in the pleadings or otherwise tried by consent.  Id.
(citing Tex. R. Civ. P. 301; Miller v. Towne Servs., Inc., 665 S.W.2d 143, 147 (Tex. App.-Houston [1st Dist.]
1983, no writ)).  The doctrine of implied consent is intended to cover the "exceptional case" in which the record
as a whole clearly shows the parties tried the unpleaded issue.  Id. (citing Greene v. Young, 174 S.W.3d 291,
301 (Tex. App.-Houston [1st Dist.] 2005, pet. denied)).  The record before us indicates that the "aiding and
abetting discrimination" issue was first raised in appellees' motions for summary judgment.  Appellants did
not even address this claim in their response.  Therefore, we cannot say that the record reflects that the
parties tried the unpleaded "aiding and abetting discrimination" issue by consent.  As such, we need not
address this claim.  With respect to appellants' remaining retaliation and sex discrimination claims that were
properly pleaded, we will discuss them later in this opinion.  See infra Part (C)(3).
10.  The other co-owner of Complete Medical Care is Orel Michael Everett, M.D.  He is not a party to
this appeal.
11.  The Waco Court of Appeals in Vela v. Waco Independent School District stated that:


	[E]xhaustion of the administrative review system outlined above is a mandatory prerequisite
to filing a civil action alleging violations of the [T]CHRA.  The Court stated that the [T]CHRA
does not provide an 'unconditional private right of action.'  Therefore, a complainant's failure
to file a complaint and pursue his administrative remedies with the Commission creates a
jurisdictional bar to his statutory discrimination claim.  The Supreme Court's decision in
Schroeder suggests that the legislature intended for the [T]CHRA to be the exclusive forum
for the resolution of an employee's discrimination claim. 


69 S.W.3d 695, 700 (Tex. App.-Waco 2002, pet. withdrawn) (citations omitted). 
12.  Appellants have not cited to, nor are we aware of, authority allowing a complainant under the
TCHRA to file their lawsuit before filing their complaint and exhausting their administrative remedies. 


